Case 1:19-cv-21724-BB Document 331-82 Entered on FLSD Docket 09/20/2021 Page 1 of 6




                   EXHIBIT 62
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Case 1:19-cv-21724-BB Document 331-82 Entered on FLSD Docket 09/20/2021 Page 2 of 6

                                                NORWEGIAN CRUISE LINE
                                                   HOLDINGS LTD.


                                                                                             December 21, 2017

        Mr. Raúl Pérez Ramos
        Deputy Minister of Transportation
        Ministry of Transportation
        Avenida Boyeros esq. Tulipán
        Municipio Plaza del a Revolución
        Havana, Cuba

        Dear Mr. Pérez Ramos,

        In March of this year, Norwegian Cruise Line Holdings (NCLH) began its cruise program to Cuba
        with the Marina, flagship of the Oceania Cruises fleet. The arrival of the Marina to the Bay of Havana
        was a historic moment for Cuba and NCLH. In the months since this first trip, thousands of our
        passengers have enjoyed this unique opportunity to meet, interact and learn from the most developed
        and charming society in the Caribbean.

        Cruises attract and transport a very special clientele to Cuba, people who want to make the most of
        their experiences in the short time they spend on land. The collaboration that has been created between
        the port authorities Aries, S.A. and Empresa Consignataria Mambisa, our tour operator Havanatur
        S.A. and our three cruise brands has benefited the Cuban people, our company and, mainly, the
        American passengers who travel in our ships to Cuba.

        The reason for this correspondence is to request permission from the pertinent authorities for our ships
        to anchor in the Bay of Havana and transport our passengers ashore using our own barges.

        This request is based on the strong demand of passengers who wish to travel to Cuba, a demand that
        we have only been able to partially satisfy due to the limitations of the docks dedicated to cruise ships.
        Today there is only one pier that can accommodate our ships Norwegian Sky and Norwegian Sun,
        with more than 2,000 passengers each. This is not only a loss for our company, but also for local
        suppliers and the Government of Cuba.

        In the summer of 2018, Norwegian Sky and Norwegian Sun will offer cruises to Cuba from their ports
        of Miami and Port Canaveral. Although we are bringing two ships instead of one, the daily passenger
        count will remain the same. Norwegian Sky currently offers two full days in Havana (Tuesday and
        Wednesday) for most of the season, however due to lack of availability, starting May 2018 Norwegian
        Sky will depart at 6:00 to allow Norwegian Sun to occupy the position on Wednesday mornings
        entering at 8:00 and staying overnight leaving at 6:00 on Thursdays.

        The typical client takes advantage of his stopover in Havana and participates in at least one excursion
        every day in port. These clients also purchase excursions that introduce them to Havana's nightlife.
        So, as Norwegian Sky and Norwegian Sun will share the docking pier on Wednesdays beginning in
        May 2018, each ship would only spend one full day in port; resulting in lost potential field trip income
        of $ 62,000 per week.




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                                                 CONFIDENTIAL                                     NCLH_23591-00017357
                                                       CONFIDENTIAL
Case 1:19-cv-21724-BB Document 331-82 Entered on FLSD Docket 09/20/2021 Page 3 of 6

                                                    NORWEGIAN CRUISE LINE
                                                       HOLDINGS LTD.


        In 2018 there are 26 weeks in the summer that could take advantage of this additional revenue from
        Norwegian Sky passengers if they allowed Norwegian Sun to anchor in Havana Bay.

               CURRENT TYPICAL HAVANA WEEKLY PROGRAM FOR THE NORWEGIAN CRUISE LINE BRAND
                              2017                     2018                      2019
        Tuesday      Norwegian Sky (Arrival 8:00)        Norwegian Sky (Arrival 8:00)     Norwegian Sky (Arrival 8:00)
                                                                                          Norwegian Sky (Departure
        Wednesday    Norwegian Sky (Departure 17:00)     Norwegian Sky (Departure 6:00)   6:00)
                                                         Norwegian Sun (Arrival 8:00)     Norwegian Sun (Arrival 8:00)
                                                                                          Norwegian Sun (Departure
        Thursday                                         Norwegian Sun (Departure 6:00)   6:00)


        In 2018, the Norwegian Cruise Line brand will not operate cruises to Cuba from January to mid-March
        and from mid-November to December, approximately 18 weeks, due to the unavailability of the cruise
        terminal in Havana on Tuesdays and Wednesdays during this term.

        In addition to the Norwegian Sky and Norwegian Sun stopovers, we have requested multiple dates for
        our luxury brands, Oceania Cruises and Regent Seven Seas Cruises, for which there is no availability.
        These luxury brands offer longer and more immersive cruises, which don't always fall on the same
        day of the week.

        In 2018, twelve (12) days we requested were not available for Oceania Cruises and ten (10) days were
        not available for Regent Seven Seas Cruises. These dates could be accommodated if these vessels
        were allowed to anchor in a location that would allow us to transport our passengers ashore.

        The three brands of Norwegian Cruise Line Holdings have the potential to offer an additional fifty-
        eight (58) days in Havana if space is available at the dock or if ships are able to anchor in Havana Bay.
        This represents a potential revenue increase of $ 5,400,000 and port fees of $ 2,900,000 - a total lost
        revenue increase of $ 8.3 million for the Cuban economy.

        We understand that there are some concerns with the anchoring operation. We would like to assure
        you that we have the highest confidence that we can carry out these operations safely, just as we do in
        more than one hundred ports around the world.

        We are ready to review this application and operational requirements in detail so that it is a viable
        option for all parties. Taking all this into account, I ask for your utmost understanding and that our
        request be addressed as soon as possible.


        Sincerely,

        [signature]
        Frank del Rio
        President and CEO
        Norwegian Cruise Line Holdings Ltd.




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                                                    CONFIDENTIAL                                      NCLH_23591-00017358
Case 1:19-cv-21724-BB Document 331-82 Entered on FLSD Docket 09/20/2021 Page 4 of 6
Case 1:19-cv-21724-BB Document 331-82 Entered on FLSD Docket 09/20/2021 Page 5 of 6
Case 1:19-cv-21724-BB Document 331-82 Entered on FLSD Docket 09/20/2021 Page 6 of 6
